          Case 2:16-cr-00145-WBS Document 194-1 Filed 03/18/19 Page 1 of 3

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 7                         THE UNITED STATES DISTRICT COURT

 8                           EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,              CASE NO. 2:16-CR-0145-WBS
10
                           Plaintiff,       GOVERNMENT’S EXHIBIT LIST
11                                          (At Time of Evidentiary hearing)
                      v.
12
     STEPHEN J. DOUGAN,
13
                           Defendant.
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            Case 2:16-cr-00145-WBS Document 194-1 Filed 03/18/19 Page 2 of 3

 1
     EX.      DESCRIPTION                               BATES NO.   IDENTIFIED   ADMITTED
 2
     1200     Youmans Subpoena                                        3-18-19     3-18-19
 3
     1201     Youmans 902(11)
 4
     1202     Youmans Declaration, Document 159-2
 5
     1203     Youmans Declaration, Declaration 177-2
 6
     1204     Klomparens Subpoena                                     3-18-19     3-18-19
 7
     1205     Klomparens 902(11)                                      3-18-19     3-18-19
 8
     1206     Klomparens MOI, January 29, 2019
 9
     1207     Klomparens Declaration, Document 159-                   3-18-19     3-18-19
10
              3
11
     1208     Klomparens Declaration, Document 177-                   3-18-19     3-18-19
12
              3
13   1209     IRS Letter to Darla Colson, November      377-378
              21, 2008                                                3-18-19     3-18-19
14   1210     2006 Tax Audit-Response to Third          363-376
              Document Request (11/21/08)                             3-18-19     3-18-19
15
     1211     Colson Email, May 19, 2010                636-639
16
     1212     Klomparens Email, May 20, 2010            83-85
17
     1213     Klomparens Email, May 20, 2010            331-351       3-18-19     3-18-19
18
     1214     Defendant Email to Klomparens, May        640-643
              20, 2010                                                3-18-19     3-18-19
19
     1215     Defendant Email to Klomparens, May        914-916
              27, 2010                                                3-18-19     3-18-19
20
     1216     Redacted Personal Injury Fee Agreement    347-349       3-18-19     3-18-19
21

22   1217     Youmans Email, June 7, 2010               461-471

23   1218     Youmans Email, June 8, 2010               472-483

24   1219     Youmans Email, June 8, 2010               497-509       3-18-19     3-18-19

25   1220     Defendant Email, June 10, 2010            510-511

26   1221     Klomparens Email, June 10, 2010           531-534       3-18-19     3-18-19

27   1222     Poletti Email, June 10, 2010              543-556

28   1223     Youmans Handwritten Notes                 1251


                                                 Page 2 of 3
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            Case 2:16-cr-00145-WBS Document 194-1 Filed 03/18/19 Page 3 of 3

 1
     1224     Youmans Email, June 11, 2010            570-582
 2
     1225     Dougan Email, June 14, 2010             583-584     3-18-19      3-18-19
 3
     1226     Letter to IRS, June 15, 2010            1171-1192   3-18-19      3-18-19
 4   1227     Interview Questions with Notes          DOUGAN_50
                                                      886-50894
 5   1228     Executed Documents                      1365-1367
 6   1229     Document 172-1 (AUSA Notes)
 7   1230     Beckwith Declaration

 8
     1231     Kim Declaration
 9
     1232     Weir Notes (January 31, 2019)           1495-1505
10
     1233     Email Chain (January 30, 2019)                      3-18-19      3-18-19
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